
34 So. 3d 782 (2010)
Hector SUAREZ, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-1025.
District Court of Appeal of Florida, Fifth District.
May 14, 2010.
Hector A. Suarez, Malone, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number 2006-CF-000238, in the Circuit Court in and for Seminole County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, SAWAYA and ORFINGER, JJ., concur.
